Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 1 of 17

IN THE UNlTED STATES DISTRICT COURT
FOR THE NORTHERN DlSTRICT OF OKLAHOMA

1. SHELBY ROE, )
)
Plaintiff, )
)
v. ) Case No.: 15-cv-558-JHP-PJC
)
l. SAFECO INSURANCE COMPANY OF ) Jury Trial Demanded
AMERICA; and )
2. HARCO NATIONAL INSURANCE )
COMPANY, )
)
Defendants. )
NOTICE OF REMOVAL

 

Pursuant to Title 28 U.S.C. §§§ 1332, 1441 and 1446, Defendant, Harco National Insurance
Company, by and through undersigned counsel, hereby removes this civil action from the District
Court of Rogers County, Oklahoma, where it is currently pending as Case No. CJ-2015-3 13, to the
United States District Court for the Northern District of Oklahoma, and in support of this removal,
states the following:

l. On August 24, 2015, Plaintiff filed suit in the District Court ofRogers County, State
of Oklahoma in an action styled Shelby Roe v. Safeco Insurance Company of America and Harco
Natz'onal Insurance Company. Defendant, Safeco lnsurance Company of America (“Safeco”), has
not yet been served with Summons and the Petition in this action. Safeco is, however, represented
by Harry Parrish of Franden, Farris, Quillin, Goodnight, & Roberts, who has advised Harco National
Insurance Company’s (“Harco”) counsel that Safeco consents to the removal of this action. Harco
filed its Waiver of Summons and Acceptance of Service in the Rogers County action on September
30, 2015. The following is a complete list of the process, pleadings, and orders that have been

served and/or filed in State Court action, and are attached hereto:

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 2 of 17

Petition;

Entry of Appearance-Dan S. Folluo for Harco;

Entry of Appearance-Katherine R. Morelli f`or Harco;
Waiver of Summons and Acceptance of Service-Harco.

¢L.<>,O“.»=

See Exhibit 1.

A copy of the docket sheet for the action pending Rogers County District Court, Oklahoma is
also attached See Exhibit 2.

2. This Court has jurisdiction over this case and removal is proper pursuant to 28 U.S.C.
§ 1332, 1441. This case arises from alleged breaches of Def`endants’ respective insurance contracts.
In the Petition, Plaintiff` alleges damages as a result of these alleged breaches in an amount in excess
of $75,000.00 as set forth in 28 U.S.C. § 1332, exclusive of costs, interest and attorney fees. See
Exhibit 1.

3. Defendants Safeco and Harco are both foreign corporations Def`endant Safeco is
incorporated in the State of New Hampshire and has its principal place of business in the State of
Massachusetts. Def`endant Harco is incorporated in the State of Illinois and has its principal place of
business in the State ofNorth Carolina. Plaintiff, Shelby Roe, is a citizen of the State of Oklahoma.
Thus, true diversity is present, and requirements for removal are fully met pursuant to 28 U.S.C. §
1332 and LCvR 81.2.

4. This Notice of Removal is being filed within thirty (3 0) days after Defendant Harco
filed its Waiver of Summons and Acceptance of Service on September 30, 2015 respectively, and
less than one (l) year after the commencement of Plaintiff’s action on August 24, 2015. Thus,

removal of the state court action to this Court is timely and satisfies the requirement of 28 USC §

1446(b)(c).

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5. Defendant Harco requests this removal. Although Defendant Safeco has not been

served, counsel for Defendant Harco has conferred with counsel for Defendant Safeco, and Safeco

consents to the removal of this action.

6. Contemporaneously with the filing of this Notice ofRemoval, Defendant is providing

written notice of filing to Plaintiff and the District Court of Rogers County, State of 0klahoma. See

Notice of Removal Action to Federal Court attached as Exhibit 3.

7. Defendant, Harco National Insurance Company hereby demands jury trial on all

issues triable of right by jury pursuant to FED.R.CIV.P 38(b) and LCvR 81 .1.

WHEREFORE, Defendant, Harco National Insurance Company removes the State Court

Action to the United States District Court for the Northem District of` Oklahoma.

Respectfully submitted,

/s/ Dan S. Folluo

DAN S. FOLLUO, OBA# 11303
df`olluo@rhodesokla.com

KATHERlNE R. MORELLI, OBA # 30181
krnorelli@rhodesokla.com

RHODES, HIERONYMUS, JONES,
TUCKER & GABLE

P.O. Box 21100

Tulsa, Oklahoma 74121-1100

(918) 582-1173

(918) 5 92-3390 Facsimile

ATTORNEYS FOR DEFENDANT
HARCO NATIONAL INSURANCE COMPANY

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 4 of 17

CERTIFICATE OF SERVICE

I hereby certify that on the October 1, 2015, I electronically transmitted the foregoing
document to the Clerk of the Court using the Court’s ECF System for filing and transmittal of a
Notice of Electronic Filing to the following ECF registrants:

Attorneyfor Plaintz`j§fs‘.'

Mark S. Stanley mstanley@csmlaw.us
1516 South Boston Ave., Suite 116

Tulsa, Oklahoma 741 19

/s/ Dan S. Folluo

 

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Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 5 of 17

 

IN THE DISTRICT COURT OF ROGERS COUNTY

  

STATE OF OKLAHOMA _ U 4 2015
A 6 2
sHELBY RoE, )
) !£M...l.i':`__'i . 3
P|aintiff, )
) Case No. -_-_--_- ---_ ~-_-
)
SAFECO INSURANCE COMPANY )
OF AMERICA, ' )
HARC() NATIONAL INSURANCE )
COMPANY ) cJ'zm 3 ~3 ig
Defendants. )

M
COMES NOW the Plaintiff`, Shelby Roe, by and trough here attorney of record, Mark
Stanley of Stanley and Myers, and for her cause of action against the Defendant, alleges and
states as follows, to wit:
l. That at all times hereinafter mentioned the PlaintiFf was and is a resident of Rogers
County, 'State of Oklahoma.
2. That at all time hereinafter mentioned the Defendant Safeco Insurance Company of
America is an insurance company doing business in the state of Oklahoma.
3. That at all time hereinafter mentioned the Defendant Harco Nationa| Insurance
Compqés an insurance company doing business in the State of Oklahoma
4. That this action arises out of contracts presented into Rogers County, State of
Oklahoma This court has jurisdiction ol" the parties hereto and the subject matter
hereof.
5 . That the Plaintif`f purchased an uninsured motorist police from the Defendant Safeco

Insurance Company of America.

M

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Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 6 of 17

6. That the Plaintiff was a passenger in a vehicle that Defendant Harco National
Insurance Company provided a motor vehicle police with underinsured motorist
coverage therein.

7. That thereafter the Plaintiff sustained injuries in an automobile collision resulting in
an uninsured motorist claim. 1

8. That the Defendants have breached the uninsured motorist policies herein.

9. That Defendant Harco National Insurance Company breached its duty to apportion
benefits to Plaintiff.

WHEREFORE PREMISES CONSIDERED, Plaintiff prays that she have any recover

a judgment against the Defendant in an amount exceeding the jurisdictional amount as set

forth in 28 U.S.C. § 1332 together with interests, costs, reasonable attorney’s fees, and

/7//€

Mark s stanley, Mszs
1516 South Boston Avenue, Suite 116
Tulsa, OK 74119
OFfice: (918) 584-2450
Facsimile: (918) 584-2430
* Atlorney for the Plaz`ntiff

punitive damages

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 7 of 17

FllED ll\l THE D|STRlCT COUP\T
ROGERS COUNTY OKLAHOMA

rN THE DISTRICT CoURT oF RoGERs CoUNTY SEP 3 0 2015
sTArE or oKLAHoMA
mamaaz;_@@s_s._r..,@mL.E£_K

SHELBY ROE, individually,

DEPUTV

Plaintiffs,

v.
Case No. CJ~2015-313
SAFECO INSURANCE COMPANY OF
AMERICA; and HARCO NATIONAL
INSURANCE COMPANY,

 

Defendants.

 

ENTRY OF APPEARANCE

 

COMES NOW Dan S. Folluo of the firm Rhodes, Hieronymus, Jones, Tucker, & Gable PC
enters his appearance as counsel of record for the Defendant, Harco National Insurance Company,

pursuant to Title 12 O.S. § 2005.2(a).

_{JA
» o
Dated this l day of September, 2015 .

Respectfu?témmze> §
By

DAN S. FOLLUO A# 11303
dfolluo@rhode a. com

KATHERINE R. MORELLI, OBA# 30181
kmorelli@rhodesokla.com

RHODES, HIERONYMUS, JONES,
TUCKER & GABLE

P.O. Box 21100

Tulsa, Oklahoma 74121-1100

(918) 582-1173

(918) 592-3390 Facsimile

ATTORNEYS FOR DEFENDANT
HARCO NATIONAL INSURANCE COMPANY

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 8 of 17

CERTIFICATE OF SERVICE

I hereby certify that on the 33 day of September, 2015, l mailed a copy of the above and
foregoing documents to the following, with postage prepaid thereon:

Mark S. Stanley

1516 South Boston Ave., Suite 116
Tulsa, Oklahoma 74119

Z/

 

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 9 of 17

F|l_ED |l\l, THE DlSTP.lCT COURT

ROGERS COUNTY OKLAHOMA
IN THE DISTRICT COURT oF ROGERS coUNrY
sTATE oF oKLAHoMA SEP 3 0 2015
sHELBY RoE, individually, li'¢'!’-…"‘~ENR\" COURT CLERK
Plaintiffs, DE"U"

v.
Case No. CJ-2015-313
SAFECO INSURANCE COMPANY OF
AMERICA; and HARCO NATIONAL
INSURANCE COMPANY,

 

Defendants.

 

ENTRY OF APPEARANCE
COMES NOW Katherine R. Morelli of the firm Rhodes, Hieronymus, Jones, Tucker, &
Gable PC enters her appearance as counsel of record for the Defendant, Harco National Insurance
Company, pursuant to Title 12 O.S. § 2005.2(a).

t m
Dated this 5_0 day of Septem er, 2015 .

Respectfully submitted,

By imitva g i\i\€¥l(}QQ:-

DAN S. FOLLUO, OBA# 11303
dfolluo@rhodesolda.com

KATHERINE R. MORELLI, OBA# 30181
kmorelli@rhodesokla.com

RHODES, HIERONYMUS, JONES,
TUCKER & GABLE

P.O. Box 21100

Tulsa, Oklahoma 74121-1100

(918) 582-1173

(918) 592-3390 Facsimile

ATTORNEYS FOR DEFENDANT
HARCO NATIONAL INSURANCE COMPANY

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 10 of 17

CERTIFICATE OF SERVICE

cpa
I hereby certify that on the 39 day of September, 2015, 1 mailed a copy of the above and
foregoing documents to the following, with postage prepaid thereon:

Mark S. Stanley

1516 South Boston Ave., Suite 116
Tulsa, Oklahoma 74119

\/Miur<\o f tie/ali

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 11 of 17

F|lED |l"l THE DIF=TR|CT COURT
ROGERS COUNTY OKLAHOMA

IN THE DISTRICT COURT GF ROGERS COUNTY

STATE OF OKLAHOMA

SHELBY ROE, individually,

Plaintiffs,
v.
SAFECO INSURANCE COMPANY OF
AMERICA; and HARCO NATIONAL
INSURANCE COMPANY,

Defendants.

 

 

 

 

UEPLITY

Case No. CJ-2015-313

WAIVER OF SUMMONS AND ACCEPTANCE OF SERVICE

COMES NOW Defendant, Harco National Insurance Company, by and through its attorneys,

Dan S. Folluo and Katherine R. Morelli of the firm Rhodes, Hieronymus, Jones, Tucker, & Gable PC

and hereby waives service of Summons and accepts service of the Petition on behalf of Defendant,

Harco National Insurance Company,

w
Dated this § day of September, 2015.

Case 4:15-CV-00558-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 10/01/15 Page 12 of 17

Respectfully submitted,

DAN S. FOLLU}),/OBA# 11303
dfolluo@rhodesokla.com
KATHERINE R. MORELLI, OBA# 30181
kmorelli@rhodesokla.com
RHODES, HIERONYMUS, JONES,
TUCKER & GABLE

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Tulsa, Oklahoma 74121-1100

(918) 582-1173

(918) 592-3390 Facsimile

ATTORNEYS FOR DEFENDANT
HARCO NATIONAL INSURANCE COMPANY

CERTIFICATE OF SERVICE

1 hereby certify that on the g day of September, 2015, l mailed a copy of the above and
foregoing documents to the following, With postage prepaid thereon:

Mark S. Stanley
1516 South Boston Ave., Suite 116
Tulsa, Oklahoma 74119

 

Case 4:15-CV-OO558-.]HP-.]F.] Document 2 Fiied in USDC ND/OK on 10/01/15 Page 13 of 17

Case Information - OSCN

§OKLAHOMA

State Courts thwork

 

Page 1 of 3

The information on this page is NOT an official record. Do not rely on the correctness cr completeness of
this information. Verify all information With the official record keeper. The information contained in this report
is provided in compliance With the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is
governed by this act, as weil as other applicable state and federal iaws.

lN THE DlSTR|CT COURT lN AND FOR ROGERS COUNTY, OKLAHOMA

Shelby Roel
Piaintiff,

v.

Safeco insurance Company of America,
Defendant,

Harco Nationai insurance Company,
Defendant.

PARTIES

Harco Nationai insurance Company, Defendant
Roe, Shelby, Piaintiff
Safeco insurance Company of America, Defendant

ATTORNEYS

Attorney

Foiiuo, Dan S (Bar#11303)
P.O. BOX 21100
TULSA, OK 74121

i\/ioreiii, Katherine R(Bar#30181)
Tucker and Gable

P.O. Box 21100

Tulsa, OK 74121

Stanleyl Mark S. (Bar#11528)
1516 South Boston Avenue
Suite 116

Tulsa, OK 74119

No. CJ-2015-313

(Civil relief more than $10,000: AUTO
NEGL|GENCE)

Fiied: 08/24/2015

Judge: Condren, Sheiia A.

Represented Parties

Harco National insurance Company,

Safeco insurance Company of Americal

Roe, Shelby

http://www.oscn.net/dockets/GetCaselnformation.aspx?db=rogers&cmid=Z71 983 &numbe. ..

 

EXHIBIT

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9/30/2015

Case 4:15-CV-OO558-.]HP-.]F.] Document 2 Fiied in USDC ND/OK on 10/01/15 Page 14 of 17
Case Information - OSCN Page 2 of 3

EVENTS

None

lSSUES

For cases fled before 1/1/2000l ancillary issues may not appear except in the docket

issue #1. issue: AUTO NEGL|GENCE (AUTONEG)
Fiied By: Roe, Shelby
Fiied Date: 08/24/2015

Party Name Disposition information
Pending.
Date Code Description Count Party Amount
08-24-2015 TEXT CiV|L RELiEF MORE THAN $10,000 lNiTiAL FiL|NG. 1

Document Availabie at Court Cierk's Office

08-24-2015 AUTONEG AUTO NEGL|GENCE

08-24-2015 DMFE DiSPUTE MED|AT|ON FEE $ 2.00
08-24-2015 PFE1 PETiTiON $ 163.00
Document Availabie (#1030806795) [§'jTiFF l[_;j:‘,PDF
08-24-2015 PFE7 LAW LiBRARY FEE $ 6.00
08-24-2015 OC|SR OKLAHOMA COURT iNFORMATiON SYSTEM REVOLV|NG FUND $ 25.00
08-24-2015 CCADM|NOZ COURT CLERK ADM|N|STRAT|VE FEE ON $2 COLLECT|ONS $ 0.20
08-24-2015 OCJC OKLAHOMA COUNC|L ON JUD|CiAL COMPLA|NTS REVOLVlNG $ 2.00
FUND
08-24-2015 OCASA OKLAHOMA COURT APPOINTED SPEC|AL ADVOCATES $ 5.00
08-24-2015 CCADi\/iiNO4 COURT CLERK ADM|N|STRAT|VE FEE ON COLLECT|ONS $ 0.50
08-24-2015 LTF LENGTHY TRIAL FUND $ 10.00
08-24-2015 TEXT OC|S HAS AUTOMAT|CALLY ASS|GNED JUDGE CONDREN, SHE|LA

A. TO THIS CASE.

http://www.0scn.net/dockets/GetCaseInformation.aspx?db=rogers&cmid=271983&numbe... 9/30/2015

Case 4:15-CV-OO558-.]HP-.]F.] Document 2 Fiied in USDC ND/OK on 10/01/15 Page 15 of 17
Case Information - OSCN Page 3 of 3

Date Code
08-24-2015 ACCOUNT

09-04-2015 SMF
09-04-2015 S|Vl|P
09-04-2015 ACCOUNT

09-30-2015 EAA
09-30-2015 EAA
09-30-2015 WA

Description Count Party Amount

RECE|PT # 2015-470027 ON 08/24/2015.

PAYOR:CARPENTER STANLEY & MYERS PLLC TOTAL AMOUNT
PA|DZ $213.70.

LiNE |TEMS:

CJ-2015-3132 $163.00 ON ACO1 CLERK FEES.

CJ-2015-3131 $6.00 ON AC23 LAW LiBRARY FEE.

CJ-2015-3133 $0.70 ON AC31 COURT CLERK REVOLVING FUND.
CJ-2015-313! $5.00 ON ACSB OKLAHOMA COURT APPO|NTED
SPEC|AL ADVOCATES.

CJ-2015-3131$2.00 ON AC59 COUNC|L ON JUD|C|AL COMPLA|NTS
REVOLV|NG FUND.

CJ-2015-3131$2.00 ON AC64 D|SPUTE MED|AT|ON FEES.
CJ-2015-313: $25.00 ON AC79 OC|S REVOLV|NG FUND.
CJ-2015-3132 $10.00 ON AC81 LENGTHY TR|AL FUND.

SUMMONS FEE (CLERKS FEE) $10.00
SUMMONS |SSUED - PRIVATE PROCESS SERVER(Z)

RECE|PT # 2015-471147 ON 09/04/2015.

PAYOR:CARPENTER STANLEY MYERS TOTAL AMOUNT PA|D:
$10.00.

LiNE |TEMS:

CJ-2015-313Z $10.00 ON ACO1 CLERK FEES.

ENTRY OF APPEARANCE
ENTRY OF APPEARANCE
WAiVER OF SUMMONS AND ACCEPTANCE OF SERV|CE

http://www.oscn.net/dockets/GetCaselnformation.aspx?db=rogers&cmid=27 l 983&numbe... 9/3 0/2015

Case 4:15-CV-OO558-.]HP-.]F.] Document 2 Fiied in USDC ND/OK on 10/01/15 Page 16 of 17

IN THE DlSTRlCT COURT OF ROGERS COUNTY
STATE OF OKLAHOMA

SHELBY ROE, individually,
Plaintiffs,

v.
Case No. CJ-2015-313
SAFECO INSURANCE COMPANY OF
AMERICA; and HARCO NATIONAL
INSURANCE CGMPANY,

 

Defendants.

NOTICE OF REMOVAL OF ACTION TO FEDERAL COURT

COMES NOW Defendant, Harco National Insurance Company, and pursuant to Title 28
U.S.C., § 1446(d), hereby gives notice of the filing of` a Notice of Removal removing this action
from this Court to the United States District Court for the Northem District of Oklahoma A copy of
Defendant’s Notice of Removal, filed in federal court is attached hereto as Exhibit l.

No further action needs to be taken by this Court, other than forwarding a complete copy of
the record of this action to the United States District Court, unless and until this action is remanded
to this Court. See 28 U.S.C. § l446(d).

Dated this j§_'i day of October, 2015.

EXHIBIT

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Case 4:15-CV-OO558-.]HP-.]F.] Document 2 Fiied in USDC ND/OK on 10/01/15 Page 17 of 17

Respectfully submitted,

iUti:iiiQ/\Ntl if iii/iiiii`-

DAN s. FoLLUo, o§A# 11'3 63" "v `
dfolluo@rhodesokla.com

KATHERINE R. MORELLI, OBA# 30181
kmorelli@rhodesokla.com

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Tulsa, Oklahoma 74121-1 100

(918) 582-1173

(918) 592-3390 Facsimiie

ATTORNEYS FOR DEFENDANT
HARCO NATIONAL INSURANCE COMPANY

 

CERTIFICATE OF SERVICE

l hereby certify that on the \Sdi day of October, 2015, I mailed a copy of the above and
foregoing documents to the following, with postage prepaid thereon:

Mark S. Stanley
1516 South Boston Ave., Suite 116
Tulsa, Oklahoma 74119

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v d “\/*

